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         EXHIBIT 109
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                                                                                  Page 1
                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION


        RICHARD KADREY, AN                           :   CASE NO. 3:23-cv-03417-VC
        INDIVIDUAL; SARAH SILVERMAN,                 :
        AN INDIVIDUAL; CHRISTOPHER                   :
        GOLDEN, AN INDIVIDUAL,                       :
                   PLAINTIFFS                        :
                                                     :
        VS.                                          :
                                                     :
        META PLATFORMS, INC., A                      :
        DELAWARE CORPORATION                         :
                   DEFENDANT                         :


               ***HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY***
                 VIDEOTAPED DEPOSITION OF CHAYA NAYAK 30(B)(6)
                               SAN FRANCISCO, CALIFORNIA
                                THURSDAY, APRIL 3, 2025


           REPORTED BY:
           DEBBIE LEONARD, CSR, RDR, CRR
           CSR NO. 14350




        ____________________________________________________________
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                                                                                 Page 66
  1        there was another copy.

  2        BY MR. SCHUFFENHAUER:

  3            Q      Do you know why Meta would acquire multiple

  4        copies of LibGen?

  5                   MR. MORTON:        Object to form.          Outside the scope.

  6                   THE WITNESS:        Meta is a large company, and I

  7        could imagine that one researcher could have downloaded

  8        it and then another researcher could have downloaded it

  9        without knowing that it existed.

 10        BY MR. SCHUFFENHAUER:

 11            Q      Do you know which copy of LibGen was used in

 12        training the Llama models?

 13                   MR. MORTON:        Objection.        Outside the scope.

 14        Object to form.

 15                   THE WITNESS:        I do not know.

 16        BY MR. SCHUFFENHAUER:

 17            Q      Do you know if every copy of LibGen was used to

 18        train a Llama model that Meta has?

 19                   MR. MORTON:        Object to form.          Outside the scope.

 20                   THE WITNESS:        I don't know.

 21        BY MR. SCHUFFENHAUER:

 22            Q      Would you expect it to be the case that every

 23        copy of LibGen was used to train a Llama model that Meta

 24        possesses?

 25                   MR. MORTON:        Object to form.          Outside the scope.



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                                                                               Page 119
  1                                C E R T I F I C A T E

  2

  3                 I, Debbie Leonard, Certified Shorthand Reporter

  4        No. 14350 for the State of California, do hereby

  5        certify:

  6                 That the foregoing deposition was taken before me

  7        at the time and place therein set forth, at which time

  8        the witness was put under oath by me; that the testimony

  9        of the witness and all objections made at the time of the

 10        examination were recorded stenographically by me, were

 11        thereafter transcribed by me by means of computer; and

 12        that the foregoing is a true record of same.

 13                 I further certify that I am neither counsel for

 14        nor related to any party to said action, nor in any way

 15        interested in the outcome thereof.

 16                 IN WITNESS WHEREOF, I have subscribed my name

 17        this 3rd day of April, 2025.

 18

 19

 20                        ________________________________

 21                        Debbie Leonard, CSR, RDR, CRR

 22                        CSR NO. 14350

 23

 24

 25



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